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 1                               UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 COMMUNITY SCHOOLS INITIATIVE,                              Case No.: 2:23-cv-00069-APG-EJY

 4           Plaintiff                                     Order to Show Cause Why This Action
                                                            Should Not Be Dismissed for Lack of
 5 v.                                                           Subject Matter Jurisdiction

 6 VANGUARD FIELD STRATEGIES,

 7           Defendant

 8         Plaintiff Community Schools Initiative (CSI) brought this suit in this court based on

 9 diversity jurisdiction. However, CSI’s allegations about its own citizenship are inadequate. CSI

10 alleges it is a political action committee “with rights assigned in trust to Lex Tecnica, Ltd.” ECF

11 No. 1 at 2. It is unclear what this means in terms of who is the real party in interest, whether

12 CSI’s citizenship for diversity purposes is determined by Lex Tecnica’s citizenship (for which

13 there are no allegations), or, if CSI’s citizenship is determined by its status as a political action

14 committee, how that may impact its citizenship. Further, CSI makes no allegations regarding the

15 citizenship of defendant Vanguard Field Strategies, LLC’s members. See Johnson v. Columbia

16 Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (stating that “an LLC is a citizen of

17 every state of which its owners/members are citizens”).

18         I THEREFORE ORDER that plaintiff Community Schools Initiative shall show cause, in

19 writing, why this action should not be dismissed for lack of subject matter jurisdiction. Failure

20 to respond to this order by February 20, 2023 will result in dismissal for lack of subject matter

21 jurisdiction.

22         DATED this 18th day of January, 2023.

23
                                                           ANDREW P. GORDON
                                                           UNITED STATES DISTRICT JUDGE
